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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CV-61923-RAR

  VERONICA QUIROGA,

          Plaintiff,

  v.

  EQUIFAX INFORMATION
  SERVICES, LLC, et al.,

        Defendants.
  _______________________________/

              ORDER REQUIRING COMBINED RESPONSES AND GRANTING
                 EXTENSION OF TIME TO RESPOND TO COMPLAINT

          THIS CAUSE comes before the Court sua sponte. The record indicates that Defendants

  Equifax Information Services, LLC, Hyundai Capital America, Inc., Healthcare Revenue

  Recovery Group, Alchro, Inc., and Portfolio Recovery Associates, LLC, have all been served with

  process. See Returns of Service [ECF Nos. 8-10, 14-15]. Additionally, Defendant Portfolio

  Recovery Associates, LLC filed an Amended Unopposed Motion for Extension of Time to

  Respond to Complaint [ECF No. 21] on October 6, 2021. To better manage the orderly progress

  of this case, it is hereby

          ORDERED AND ADJUDGED that Defendant Portfolio Recovery Associates, LLC’s

  Amended Unopposed Motion for Extension of Time to Respond to Complaint [ECF No. 21] is

  GRANTED. Accordingly, all Defendants who have yet to file a response, including Portfolio

  Recovery Associates, LLC, shall submit a single combined response or separate answers on or

  before November 6, 2021.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 6th day of October, 2021.


                                                     _________________________________
                                                     RODOLFO A. RUIZ II
                                                     UNITED STATES DISTRICT JUDGE
